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                       Exhibit G
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From:                 Tyler Rowland <RowlandT@gohart.org>
Sent:                 Tuesday, December 8, 2020 12:03 PM
To:                   urielrivkin@gmail.com
Subject:              HART - Young Israel Ad
Attachments:          Young Israel Ad - vector v3 - Suggested edits.pdf


Hello Rabbi Rivkin,

I wanted to reach out to you with our suggested edits to you event’s ad the you are interested in on HART. We met
yesterday as a team to discuss these edits/changes to ad per our advertising policy. Our ICEO, Ruthie Reyes Burckhard
spoke to you yesterday as well to let you know we were discussing you ad. Please take a moment to review the notes on
the attached PDF of you ad that contains the edits and let us know if these changes can be made.

Look forward to hearing back from you,

Regards,
Tyler Rowland



Tyler Rowland
Manager of Communications & Creative Services
HART
1201 East 7th Avenue
Tampa, FL 33605
Tel: (813) 384-6575
Fax: 813-384-6284
Rowlandt@gohart.org
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Please note: Hillsborough Transit Authority (HART) is a public agency and all correspondence to or from this Agency is
subject to disclosure under Florida's Public Records laws (Florida Statutes, Chapter 119).

Created on October 3, 1979, the Hillsborough Area Regional Transit Authority (HART) is the regional mobility provider
in Hillsborough County, serving a population of more than 1.4 million residents in the cities of Tampa, Temple Terrace,
and parts of unincorporated Hillsborough County, the fourth most populated county in Florida. Its total service area
covers 1,000 square miles which is almost the size of Rhode Island. HART operates fixed-route local and express bus
service, door-to-door paratransit service, flex-route service, and manages the TECO Line Streetcar System. HART’s
mission is to take people to places that enhance their lives. For more information, visit www.gohart.org, follow HART
on Facebook and Twitter, or call (813) 254-4278.

* Go Green! Please don't print this e-mail unless you really need to. Thanks!




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